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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
BLENDI SAHITL DOC #
DATE FILED: _ 1/14/2020
Plaintiff,
-against- 19 Civ. 7377 (AT)
TARENTUM, LTD. d/b/a Ulivo, FABIO ORDER

CAMARDI, and MANUELA CALABRESE,

 

Defendants.
ANALISA TORRES, District Judge:

 

Plaintiff's request for a temporary restraining order and preliminary injunction is DENIED.
The Clerk of Court is directed to terminate the motion at ECF No. 31.
SO ORDERED.

Dated: January 14, 2020
New York, New York

On-

ANALISA TORRES
United States District Judge

 
